                Case 3:17-cr-03741-AJB Document 10 Filed 10/19/17 PageID.159 Page 1 of 1
                                     UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                           Plaintiff,   )   CRIMINAL CASE NO. \ \              N\~ ?~o-:r
           v.                                              ~- lOUp\l~\e)
\I\ l                 '{\ .    ·    \   cu)tto            ~  ORDER AND CONDITIONS OF PRETRIAL
 l V\   {P('\ 0       yrV\tDYl\ 0                Defen           ~'Wt        RELEASE: BAIL (18 U.S.C. § 3142(c))
A hearing was held to determine pretrial conditions ofrelease of the defendantpursuant to 18 U.S.C. § 3142. The Federal Judge
determined an unconditional release pursuant to 18 U.S.C.§ 3142(b) is not sufficient to assure the appearance of the defendant and the
safety of the community. Thus, conditions of pretrial release are necessary pursuant to 18 U.S.C.§ 3142(c). Good cause appearing,
         IT IS ORDERED that the defendant shall be released subject to the condition that the defendant: (a) not commit a
federal, state or local crime durinfl the period of release, (b) make all court appearances and (c) comply with
the conditions itemized below, as indicated by ( ../), in accordance with 18 U.S.C.§ 3142(c)(2):
STANDARD CONDITIONS:
~ 1. restnct travel to o San Diego County ,)(southern District of California,                   D Central District of California,
           D State of California, 0 United States,~ do not enter Mexico,D other:                                        ·
~      2. report for supervision to Pretrial Services Agency (PSA) as directed by the assigned PSO and pay for the
          reasonable costs of supervision in an amount determined by PSA and approved by the court;
_{___ 3. not possess or use any narcotic drug or controlled substance, (defined in 21 U.S.C. § 802), without
          a lawful medical prescription;
_{_ 4. not possess any firearm, dangerous weapon or destructive device during the pendency of the case;
_{_ 5. read, or have explained, and acknowledge understanding of the Advice of Penalties and Sanctions Form;
_{_ 6. provide a current residence address and phone number prior to release and keep it current while case
          pending.
ADDITIONAL CONDITIONS:
_      7. Comply with all government agency conditions to be able to legally remain in the United States during
          pendency of the proceedings;
__ 8. submit to treatment, and/or testing, at the discretion of the pretrial officer assigned to your case, no more
          than_times per month, for:
          D drugs or alcohol, and/or D psychiatric or psychological counseling;
__ 9. the defendant shall be monitored by the form oflocat10n monitoring indicated below and abide by all
          technology requirements under the following components. Defendant and sureties are responsible for all
          equipment associated with this program including loss or damage.
          1) D a Global Positioning System (GPS) D RF Monitoring D Voice Recognition
          2) D Home Incarceration D Home Detention D Curfew - Remain at your residence every day from
           ~~_A.M./P .M. to                  A.M./P .M. D or as directed by the Pretrial Services Officer; D defendant
           shall pay all or part of the costs of monitoring as directed by the court and/or the Pretrial Services Officer;
            D Defendant to be released to PSA custody the following business day by 10:00 a.m. ;
 X 10. actively seek and maintain full-time employment, schooling, or combination of both;
_:j...11. execute a personal appearance bond in the amount of $aD ~C()[)                 secured by:
           D a trust deed to the United States on real estate approved by a Federal Judge;
          ~ the co-signatures of                      a...                       financially responsible (related) adults,
           D Nebbia hearing D Exam of Sureties D other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

_  12. provide the court with: D a cash bond and/or D execute a bail bond by an approved solvent corporate
       surety in the amount of$                     that covers ALL conditions of release (not just appearances).
_13. 18 U.S.C.§ 3142(d) hold until                   ; if no detainer is lodged by then, these conditions take effect;
_14. clear all warrants/FT As and pay all fines within                daµ of release;
~15. Defendant is to reside with s.A,'{'l.Jnh, O'(-fr;irn1l\9/~ant's residence be approved by PTS;
-.Xl6. Defendant to surrender any valid passpo!fand may not apply for new travel documents.
_1 7. all conditions previously set will remain the same.
   18. Other conditions:                ---
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Form Crim-49b(CASDRev. 4/14)
